ILND 450 (Rev.Case:   1:17-cv-07491
              04/29/2016) Judgment in a Civil Document
                                              Action     #: 130 Filed: 05/21/21 Page 1 of 1 PageID #:1117

                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS

Asher Kaufman
Plaintiff(s),
                                                                 Case No. 1:17-cv-07491
v.                                                               Judge Thomas M. Durkin

City of Chicago et al
Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

         ✔       in favor of plaintiff(s) Kaufman
                 and against defendant(s) Dakuras
                 in the amount of $ 53,700.00

                          which      includes       pre–judgment interest.
                                   ✔ does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


         ✔       in favor of defendant(s) Mirus
                 and against plaintiff(s) Kaufman

        Defendant(s) shall recover costs from plaintiff(s).


                 other:




This action was (check one):

 ✔   tried by a jury with Judge Thomas M. Durkin         presiding, and the jury has rendered a verdict.
     tried by Judge                           without a jury and the above decision was reached.
     decided by Judge                            on a motion



Date: 5/21/2021                                     Thomas G. Bruton, Clerk of Court

                                                    Emily Wall                , Deputy Clerk
